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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION



NORTH AMERICAN SUGAR INDUSTRIES INC.,

                                            Plaintiff,

                             v.                                    Civil Action No.: 4:21-cv-00012

BBC CHARTERING USA, LLC,

                                            Defendant.


                PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES

        Pursuant to the Court’s Order issued on January 5, 2021, Dkt. No. 6, Plaintiff North

American Sugar Industries Inc. (“American Sugar”) hereby certifies that, to its knowledge, the

following are persons, associations of persons, firms, partnerships, corporations, affiliates, parent

corporations, or other entities that are financially interested in the outcome of this litigation:1

        1. American Sugar, Plaintiff;

        2. Cuban-American Mercantile Corporation, subsidiary of Plaintiff;

        3. The West India Company, subsidiary of Plaintiff;

        4. Azucar Holdings, LLC (“Azucar”), owner of Plaintiff;

        5. Funds and entities affiliated with Apollo Global Management, Inc., part owners of

            Azucar;

        6. Shell Oil Company, part owner of Azucar;



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  Pursuant to the Court’s Order, American Sugar has underlined any corporation whose
securities are publicly traded, and has grouped individual parties as appropriate and provided a
“general description” of each group. Dkt. No. 6.
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        7. Royal Dutch Shell plc, parent company of Shell Oil Company;

        8. JPMorgan Chase Bank, N.A. (as Trustee for First Plaza Group Trust), part owner of

              Azucar;

        9. JPMorgan Chase & Co., parent company of JPMorgan Chase Bank, N.A.;

        10. Funds affiliated with The Goldman Sachs Group, Inc., part owners of Azucar;

        11. Individual current and former members of Hexion LLC’s management team, part

              owners of Azucar;

        12. BBC Chartering USA, LLC, Defendant;

        13. BBC Chartering & Logistic GmbH & Co. KG, parent company of Defendant; and

        14. Briese Group, network of companies including Defendant.

American Sugar reserves the right to supplement this list if additional interested parties are

identified.


Dated: January 20, 2021                                 Respectfully submitted,


                                                         /s/William B. Dawson
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Of Counsel for Plaintiff North American Sugar
Industries Inc.

                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 20, 2021, a true and correct copy of the foregoing

document was mailed via first-class mail, postage prepaid, to Defendant BBC Chartering USA,

LLC at 6565 West Loop South, Suite 200, Bellaire, TX 77401, and also to its counsel, Naim

Surgeon, at Akerman LLP, 350 East Las Olas Boulevard, Suite 1600, Ft. Lauderdale, FL 33301.

                                             /s/ William B. Dawson
                                             William B. Dawson




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